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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA



 GAIL MAXEY, et al.                               :      CIVIL ACTION
                         Plaintiffs,              :
                                                  :
               v.                                 :
                                                  :
 WEST GROVE HOSPITAL                              :      No. 16-4167
 COMPANY, LLC                                     :
                 Defendant.                       :

                                          ORDER

        AND NOW, TO WIT: This 12th day of October, 2017 it having been reported that the
issues between the parties in the above action have been settled and upon Order of the Court
pursuant to the provisions of Rule 41.1(b) of the Local Rules of Civil Procedure of this Court
(effective July 1, 1995), it is

               ORDERED that the above action is DISMISSED with prejudice, without costs,
pursuant to the agreement of counsel.


                                                      KATE BARKMAN
                                                      Clerk of Court



                                            BY:       /s/ Chavela M. Settles
                                                      Chavela M. Settles
                                                      Deputy Clerk to the
                                                      Honorable Timothy R. Rice
                                                      U.S. Magistrate Judge
